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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON




Oregon Advocacy Center,               )
                                      1
                     Plaintiff,       )   Civil No.      06-6229-TC
                                      1
                v.                    1
                                      1
SCAR/Jaspes Mountain and      )           ORDER
David Ziegler, Ph.D., in his )
official capacity as Director )
of SCAR/Jasper Mountain,      1
                              1
                              1
              Defendants.     )


COFFIN, Magistrate Judge.
         Pursuant to the parties' stipulation, defendants SCAR/Jasper

Mountain and David Ziegler, Ph.D.,           in his official capacity as
Director of SCAR/Jasper Mountain, are permanently enjoined from
denying Oregon Advocacy Center (OAC) reasonable access to the

facility, staff, and patients/residents at the facility.

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          The Court imposes the following access conditions and retains
continuing jurisdiction over this matter.

                               Access Conditions
1. OAC agrees to arrange monitoring visits to SCAR/Jasper Mountain

with at least 24 hours advance notice. OAC may make an unannounced

monitoring visit if written approval is received in advance from
the Court.

2. If Jasper Mountain contends that a proposed monitoring visit is

unreasonable for any reason, it may petition the Court for relief.

SCAR/Jasper:Mountain shall bear the burden of showing why the visit
is unreasonable on the basis that it is excessive, duplicative,
disruptive, or unnecessary.

3.       During monitoring visits, the S C A ~ / ~ a s p eMountain
                                                           r       staff will

introduce the OAC monitor and explain why the OAC monitor is

visiting.        The OAC monitor may add comments that he or she wishes
to make when speaking with the children as a group.

4.       SCAR/Jasper Mountain will notify the parent or guardian upon
the child's admission to the facility that OAC will be monitoring
and may in the course of such monitoring have access to the child.

This notice shall include OAC1s phone number and address so that
the parent or guardian may contact OAC directly if they have

questions or concerns about monitoring.              If a child asks to meet
with the OAC monitor, the OAC monitor will ask the child if the
child would like to meet with the monitor alone or with another


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individual of the child's choosing, including SCAR/Jasper Mountain
staff. The child may end an interview at any time.              If a parent or
guardian objects to a specific monitoring activity, and if, after

communication with OAC the objection has not been resolved, either
the parent or guardian or a party can bring the objection to the
attention of the Court for resolution.

5. The treating psychiatrist may provide to OAC a current written

statement that a monitoring interview will be psychiatrically

detrimental to the child.        If OAC receives such a statement, OAC

shall not interview the child on that visit.           OAC and SCAR/Jasper
Mountain will attempt to work out conditions under which the child

could be interviewed that would negate the harm or the risk of harm

as expressed by the treating psychiatrist. If no conditions can be
agreed upon, OAC may interview the child if permitted by a court
order.

6.   If the parties are unable to resolve any dispute regarding
OAC's access to a particular child, the matter will be placed by

the Court on an accelerated schedule similar to that used for a
preliminary injunction.
7.   Prior to monitoring SCAR/Jasper Mountain, an OAC staff person
shall offer to receive a reasonable orientation and training from
SCAR/Jasper Mountain staff regarding the SCAR/Jasper Mountain

program, appropriate ways to speak with the children in the

program, and any other matters that SCAR/Jasper Mountain believes


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that it is important for the OAC staff person to understand in
order to best perform his or her function as monitor.                        If

SCAR/Jasper Mountain has a concern about the conduct of any OAC
monitor, it may promptly contact the OAC executive director, who

will promptly investigate the situation and take appropriate action

to resolve it.

8.    OAC's   activities shall be       conducted so as to minimize
interference with facility programs, respect patients' privacy
interests, and      honor   a   resident's    request     to   terminate     an

interview.

9.   The parties commit to mutual cooperation in fulfilling their
respective responsibilities and agree to act in the best interest
of the residents.      The parties will attempt in this spirit to
resolve all disputes that arise.       If no resolution can be reached,

the Court shall resolve the matter.




DATED this     /3    day of December, 2006.




                                                                 FIN
                                                                 trate Judge




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